Case 2:12-cv-14107-JEM Document 283 Entered on FLSD Docket 12/30/2020 Page 1 of 1



                          UNITED STATES DISTRICT COURT FOR THE
                              SOUTHERN DISTRICT OF FLORIDA
                                   FT. PIERCE DIVISION

                       Case Number: 12-14107-CIV-MARTINEZ-MAYNARD

  PIPER AIRCRAFT, INC., et al.,

         Plaintiffs,

  vs.

  CZECH SPORT AIRCRAFT, A.S., et al.,

        Defendants.
  _____________________________________/

                  ORDER ADOPTING REPORT AND RECOMMENDATION

         THIS MATTER was referred to the Honorable Shaniek M. Maynard, United States
  Magistrate Judge, for a Report and Recommendation on Plaintiffs’ Motion for Award of
  Attorneys’ Fees and Expenses, (ECF No. 257), and Plaintiffs’ Motion for Bill of Costs, (ECF No.
  258) (collectively, the “Motions”).          Judge Maynard issued an Amended Report and
  Recommendation recommending that the Motions be granted. (ECF No. 280). This Court has
  reviewed the entire record and notes that no objections have been filed and the time to do so has
  lapsed. After careful consideration, it is
         ADJUDGED that United States Magistrate Judge Maynard’s Amended Report and
  Recommendation (ECF No. 280) is AFFIRMED and ADOPTED.                         Accordingly, it is
  ADJUDGED that:
         1.      Plaintiffs’ Motion for Award of Attorneys’ Fees and Expenses, (ECF No. 257), and
  Plaintiffs’ Motion for Bill of Costs, (ECF No. 258), are GRANTED.
         2.      Plaintiff is awarded $321,436.00 in attorney’s fees and $16,977.68 in costs.
         3.      The Clerk is DIRECTED to terminate Judge Maynard’s Report and
  Recommendation (ECF No. 279) as moot.
         DONE AND ORDERED in Chambers at Miami, Florida, this 30th day of December, 2020.


                                                      ____________________________________
  Copies provided to:                                 JOSE E. MARTINEZ
  Magistrate Judge Maynard                            UNITED STATES DISTRICT JUDGE
  All Counsel of Record
